           Case 1:10-cr-00249-JLT-BAM Document 177 Filed 06/14/13 Page 1 of 3


1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    DARLING ARLETTE MONTALVO
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             NO. 1:10-cr-00249 AWI
                                           )
12                     Plaintiff,          )             STIPULATION TO CONTINUE TRIAL AND
                                           )             ORDER THEREON
13         v.                              )
                                           )
14   DARLING ARLETTE MONTALVO and          )             Date: September 24, 2013
     EVELYN BRIGGET SANCHEZ,               )             Time: 8:30 a.m.
15                                         )             Judge: Hon. Anthony W.Ishii
                       Defendants.         )
16   _____________________________________ )
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, KIRK E. SHERRIFF, Assistant United States Attorney, counsel for plaintiff; ERIC V.
19   KERSTEN, Assistant Federal Defender, counsel for defendant Darling Arlette Montalvo; and HARRY M.
20   DRANDELL, counsel for defendant Evelyn Brigget Sanchez, that the date for trial in this matter may be
21   continued to September 24, 2013, or the soonest date thereafter that is convenient to the court. The date
22   currently set for trial is August 13, 2013. The requested new date is September 24, 2013.
23          This started as a five-defendant case. One defendant has entered a plea agreement and been
24   sentenced. Two other defendants have entered plea agreements and are awaiting sentencing. Only
25   defendants Montalvo and Sanchez are scheduled for trial. Of the two defendants awaiting sentencing one
26   has agreed to cooperate with the government and will not be sentenced before the case against defendants
27   Montalvo and Sanchez is resolved. The other co-defendant is scheduled for sentencing on September 9,
28   2013. In light of developments raised by the recent guilty pleas by the co-defendants in this case, and
             Case 1:10-cr-00249-JLT-BAM Document 177 Filed 06/14/13 Page 2 of 3


1    despite the exercise of diligence in preparing this case, defendants Montalvo and Sanchez (1) require
2    additional time to prepare for trial, including to determine which witnesses will be needed for trial, and
3    (2) to allow additional time for negotiations which may result in a negotiated settlement of this matter.
4    The parties also respectfully request that the Court issue a new pretrial order for the continued trial date of
5    September 24, 2013. Trial Confirmation shall be held on September 9, 2013 at 10:00 a.m.
6             The parties agree that the delay resulting from the requested continuance shall be excluded as
7    necessary for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv). The
8    parties also agree that the ends of justice served by the granting of the requested continuance outweigh the
9    interests of the public and the defendant in a speedy trial.
10                                                                  BENJAMIN B. WAGNER
                                                                    United States Attorney
11
              DATED: June 12, 2013                               By /s/ Kirk E. Sherriff
12                                                                  KIRK E. SHERRIFF
                                                                    Assistant United States Attorney
13                                                                  Attorney for Plaintiff
14
                                                                    HEATHER E. WILLIAMS
15                                                                  Federal Defender
16            DATED: June 12, 2013                               By /s/ Eric V. Kersten
                                                                    ERIC V. KERSTEN
17                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
18                                                                  Darling Arlette Montalvo
19
              DATED: June 12, 2013                                  /s/ Harry M. Drandell
20                                                                  HARRY M. DRANDELL
                                                                    Attorney for Defendant
21                                                                  Evelyn Brigget Sanchez
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     Montalvo and Sanchez: Stipulation to Continue Trial   -2-
             Case 1:10-cr-00249-JLT-BAM Document 177 Filed 06/14/13 Page 3 of 3


1                                                          ORDER
2             IT IS SO ORDERED. Based on the grounds set forth in the stipulation, the Court finds that the
3    ends of justice served by the granting of the requested continuance outweigh the interests of the public and
4    the defendant in a speedy trial. The intervening period of delay is excluded in the interests of justice
5    pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
6    IT IS SO ORDERED.
7
     Dated:       June 12, 2013
8    0m8i78                                                       SENIOR DISTRICT JUDGE
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     Montalvo and Sanchez: Stipulation to Continue Trial    -3-
